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8                           UNITED STATES DISTRICT COURT
9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   WALTER SINNOTT,                                   Case No.: 19-CV-2271 JLS (MSB)
12                                    Plaintiff,
                                                       ORDER GRANTING JOINT
13   v.                                                MOTION FOR DISMISSAL OF
                                                       ACTION WITH PREJUDICE
14   PORTFOLIO RECOVERY
     ASSOCIATES, LLC,
15                                                     (ECF No. 16)
                                    Defendant.
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18         Presently before the Court is Plaintiff Walter Sinnott and Defendant Portfolio
19   Recovery Associates, LLC’s Joint Motion for Dismissal of Action with Prejudice (“Joint
20   Mot.,” ECF No. 16), filed pursuant to Federal Rule of Civil Procedure 41. Good cause
21   appearing, the Court GRANTS the Joint Motion. Accordingly, as requested by the Parties,
22   this action is DISMISSED WITH PREJUDICE in its entirety, with each Party to bear its
23   own fees and costs.
24         IT IS SO ORDERED.
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26   Dated: May 26, 2020
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                                                                           19-CV-2271 JLS (MSB)
